     Case 2:99-cr-00433-WBS Document 1722 Filed 06/21/16 Page 1 of 1


1

2

3

4

5
                         UNITED STATES DISTRICT COURT
6
                        EASTERN DISTRICT OF CALIFORNIA
7

8                                 ----oo0oo----

9
     HOANG NGUYEN,                       CR. NO. 2:99-00433 WBS
10
                   Petitioner,           ORDER
11
          v.
12
     UNITED STATES OF AMERICA,
13
                   Respondent.
14

15

16
                                  ----oo0oo----
17

18              On June 20, 2016, petitioner Hoang Nguyen filed a

19   motion pursuant to 28 U.S.C. § 2255.        (Docket No. 1719.)    The

20   United States shall file an opposition to petitioner’s motion no

21   later than July 22, 2016.      Petitioner may then file a reply no

22   later than August 5, 2016.     The court will then take the motion

23   under submission and will inform the parties if oral argument or

24   further proceedings are necessary.

25              IT IS SO ORDERED.

26   Dated:    June 21, 2016

27

28
                                         1
